                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION


STEPHANIE SOMMERKAMP,                               )
                                                    )
       Plaintiff,                                   )
                                                    )
       vs.                                          )
                                                    )
LINCOLN NATIONAL                                    )
LIFE INSURANCE COMPANY,                             )
                                                    )
       Defendant.                                   )


                                        COMPLAINT

       COMES NOW Plaintiff, Stephanie Sommerkamp, and for her claims and causes of action

against Defendant, Lincoln National Life Insurance Company:

                                           PARTIES

1.    Stephanie Sommerkamp (“Sommerkamp”) is a resident and citizen of the State of

      Missouri.

2.    The Lincoln National Life Insurance Company (“Lincoln”) is a foreign insurance

      company authorized to do business in the State of Missouri. The Director of the Missouri

      Department of Insurance is authorized to receive service on behalf of Lincoln.

                                JURISDICTION AND VENUE

3.    Sommerkamp brings her claim pursuant to ERISA and 29 U.S.C. § 1001 et seq.

4.    This dispute is governed by a welfare benefits plan and its policy documents, as well as

      applicable federal law regarding employer provided benefits. 29 U.S.C. § 1132(e)(1).

5.    This Court also has subject matter jurisdiction pursuant to the general jurisdictional

      statute for civil actions arising under federal law. 28 U.S.C. § 1331.

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6.    Venue lies in the Western District of Missouri under 29 U.S.C. § 1332(e)(2), as the

      breach occurred in this district, and because the welfare benefits plan is administered in

      this district.

7.    Venue is also proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

      events and/or omissions giving rise to this action occurred within this judicial district.

                            INFORMATION REGARDING TRIAL

8.    No jury trial is allowed under ERISA law.

                                   STATEMENTS OF FACT

9.    Sommerkamp worked for St. Luke’s Hospital of Kansas City as a Registered Nurse for

      almost 30 years as a Labor and Delivery nurse.

10.   In January of 2020, Sommerkamp suffered a fall in which she struck her head on

      concrete.

11.   Thereafter, she began exhibiting severe cognitive dysfunction, headaches, neck pain, knee

      pain and memory loss.

12.   Sommerkamp’s conditions have proven to be progressive.

13.   Sommerkamp attempted to work through the limitations presented by these conditions

      and was marginally successful for a time.

14.   In January of 2021, Sommerkamp’s supervisor, Brenda Cornell, approached her about her

      job performance. Cornell noted that Sommerkamp had been making mistakes, such as

      charting errors. Sommerkamp revealed her conditions were limiting her ability to do her

      job.




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15.   On January 21, 2021, Cornell concluded that Sommerkamp was unable to perform the

      material duties of her job and placed Sommerkamp on unpaid leave as of January 21,

      2021. Sommerkamp has not been able to return to that employment since.

16.   Sommerkamp’s condition has not improved, and if anything, has deteriorated. More

      particularly, the conditions which placed her out of work on January 21, 2021 persisted

      beyond February 28, 2021, and through the STD policy’s maximum benefit period.

17.   Sommerkamp’s occupation is classified as a medium work job per the Dictionary of

      Occupational Titles.

18.   St. Luke’s sponsored a group short-term disability (“STD”) benefits plan for its

      participating employees.

19.   St. Luke’s also sponsored a group long-term disability (“LTD”) benefits plan (“Plan”) for

      its participating employees.

20.   The Plan constitutes employee welfare benefit plans as defined by 29 U.S.C. § 1002(1).

21.   The Plan offered disability benefits to qualifying St. Luke’s employee Plan participants.

22.   At all relevant times, Sommerkamp has been a participant and covered person under the

      terms of the Plan.

23.   St. Luke’s is the administrator of the Plan.

24.   St. Luke’s delegated or attempted to delegate the function of issuing STD and LTD claim

      determinations to Lincoln.

25.   St. Luke’s and Lincoln entered into an administrative services contract through which St.

      Luke’s paid Lincoln for acting as claims administrator.

26.   The Plan defines “Elimination Period” as the following:




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      The Plan defines “Disability” or “Disabled”, with respect to Long Term Disability as:

      Applicable to Class 2, 3, 5, 6, 7:

         a. If the Covered Person is eligible for the Maximum Own Occupation Benefit,

               “Disability” or “Disabled” means during the Elimination Period and until the

               Covered Person reaches the end of the Maximum Benefit Period, as a result of an

               Injury or Sickness, he is unable to perform the Material and Substantial Duties of

               his Own Occupation.

      Applicable to Class 1, 4:

         b. I. If the Covered Person is eligible for the 24 Month Own Occupation benefit,

               “Disability” or “Disabled” means that during the Elimination Period and the next

               24 months of Disability the Covered Person, as a result of Injury or Sickness, is

               unable to perform the Material and Substantial Duties of his Own Occupation;

27.   Sommerkamp applied for STD benefits on January 20, 2021, the date her employer

      concluded that she was not able to perform the duties of her job as a Labor and Delivery

      Nurse.

28.   On February 15, 2021, Lincoln received medical records from Veronica Anwuri, M.D.

      Lincoln later received records from Johnathan Wellman, PhD.



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29.   On March 17, 2021, Lincoln determined that Sommerkamp met the definition of

      “disability” contained in the STD policy, was eligible for benefits, and approved her

      claim through February 28, 2021.

30.   Effective February 5, 2021, Sommerkamp received monthly STD benefits of $4,575.78.

31.   On March 30, 2021, Lincoln notified Sommerkamp that it was discontinuing and denying

      any STD benefits after February 28, 2021, because it had concluded that there was “no

      objective mental assessment documented and the available medical records do not

      suggest an intensity of care or severity of symptoms suggestive of marked functional

      impairment that would warrant ongoing restrictions and limitations that would support

      your absence from work.”

32.   In response to Lincoln’s March 30, 2021 letter, Sommerkamp sent Lincoln additional

      records from Veronica Anwuri, MD reflecting treatment received on April 19, 2021.

      Lincoln received the records on April 26, 2021.

33.   On April 29, 2021, Lincoln acknowledged receipt of the additional records but notified

      Sommerkamp that it would not consider them because her STD claim was closed.

34.   On May 13, 2021, Sommerkamp’s counsel requested a copy of her claim file from

      Lincoln.

35.   Sommerkamp initiated a claim for LTD benefits with Lincoln.

36.   Sommerkamp was denied LTD benefits by Lincoln, with Lincoln citing the elimination

      period as justification for the denial of benefits.

37.   Sommerkamp appealed Lincoln’s denial of her claim to LTD benefits.

38.   Sommerkamp has satisfied the requirements of the Plan and policies, including all

      conditions precedent.



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39.   Sommerkamp has exhausted administrative relief.

                                      CAUSES OF ACTION
                                          COUNT I
           29 U.S.C. § 1132(a)(1)(B) – WRONGFUL DENIAL OF BENEFITS

40.   Sommerkamp realleges the preceding paragraphs as if fully set forth herein.

41.   Sommerkamp is entitled to all unpaid and accrued STD and LTD benefits, as Lincoln:

          a. Made an unfavorable decision without substantial evidence;

          b. Failed to properly consider Sommerkamp’s medical impairments and resulting

             limitations; and

          c. Issued an unfavorable decision that was arbitrary and capricious.

42.   Pursuant to 29 U.S.C. § 1132(a)(1)(b), Sommerkamp is entitled to an award of actual

      damages for losses suffered.

43.   Pursuant to 29 U.S.C. § 1132(g), judgment may include compensation for a beneficiary’s

      attorney’s fees, costs, and prejudgment interest.

44.   Lincoln has not satisfied its obligation to pay Sommerkamp STD and LTD benefits.

                                            COUNT II
                     29 U.S.C. § 1132(a)(3) – BREACH OF FIDUCIARY DUTY

45.   Sommerkamp realleges the preceding paragraphs as if fully set forth herein.

46.   Under 29 U.S.C. § 1002(21)(A), a fiduciary is one who:

          “exercises any discretionary authority or discretionary control respecting

          management of such plan or exercises any authority or control respecting

          management or disposition of its assets, (ii) he renders investment advice

          for a fee or other compensation, direct or indirect, with respect to any

          moneys or other property or such plan, or has any authority or

          responsibility to do so, or (iii) he has any discretionary authority or

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          discretionary responsibility in the administration of such plan.”

47.   29 U.S.C. § 1104(a)(1)(A) describes the fiduciary standard of care:

          “a fiduciary shall discharge her duties with respect to a plan solely in the

          interest of the participants and beneficiaries and – for the exclusive

          purpose of: (i) providing benefits to participants and their beneficiaries;

          and (ii) defraying reasonable expenses of administering the plan.”

48.   Lincoln, the Plan’s designated claims administrator, is a fiduciary.

49.   Sommerkamp participated in and benefitted from the Plan as previously indicated.

50.   Lincoln’s claims management practices are motivated by financial incentives in its

      administrative services agreement with St. Luke’s.

51.   A higher than marketplace quality standard, as set forth in Metropolitan Life Ins. Co. v.

      Glenn, 554 U.S. 105, 128 (2008) governs the actions of a fiduciary.

52.   Sommerkamp is entitled to all unpaid and accrued LTD benefits, as Lincoln:

          a. Made an unfavorable decision without substantial evidence;

          b. Failed to properly consider Sommerkamp’s medical impairments and resulting

             limitations; and

53.   Issued an unfavorable decision that was arbitrary and capricious. Pursuant to 29 U.S.C. §

      1132(a)(1)(b), Sommerkamp is entitled to an award of actual damages for losses suffered.

54.   Pursuant to 29 U.S.C. § 1132(g), judgment may include compensation for a beneficiary’s

      attorney’s fees, costs, and prejudgment interest.

55.   Lincoln has not satisfied its obligation to pay Sommerkamp benefits.

                                    PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment as follows:



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56.   The Court determine and declare that Mrs. Sommerkamp is entitled to both STD and

      LTD benefits retroactive from February 2021 to the present and issue an Order requiring

      Defendant to award Mrs. Sommerkamp total disability benefits due and owing under the

      Plan from February 2021 to the present.

57.   That the Court order payment of prejudgment interest on STD and LTD benefits that

      have accrued prior to the date of judgment.

58.   WHEREFORE, pursuant to 29 U.S.C. § 1132(a)(1)(B) and 29 U.S.C. § 1132(g),

      Sommerkamp prays for judgment against Lincoln for unpaid STD benefits, unpaid LTD

      benefits, attorney’s fees, costs, and prejudgment interest.

                                    Respectfully submitted,

                                    BURNETTDRISKILL, Attorneys

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